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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                        IN THE UNITED STATES DISTRICT COURT                               February 13, 2024
                        FOR THE SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

                                                   §
 KAFI, INC.,                                       §
                                                   §
                         Plaintiff,                §
 v.                                                §    CIVIL ACTION NO. H-23-4217
                                                   §
 FAIRGATE TRUST, et al.,                           §
                                                   §
                         Defendants.               §
                                                   §
                                                   §


                                 MEMORANDUM AND ORDER

       This case arises from a constable’s execution sale of a property that KAFI, Inc. owned.

KAFI challenges a junior lien deed of trust that encumbered the property when KAFI purchased

it. KAFI seeks declaratory relief, including that it is the prevailing party; that the deed of trust is

null and void and of no effect; that no defendant has an enforceable lien interest against the

property; that all adverse claims to the real property are denied; that defendants have no right or

interest to the property; and that, alternatively, KAFI is entitled to redemption. (Docket Entry No.

1-4 at 9–15, 19). KAFI asks for a permanent injunction preventing interference with its status as

superior lien holder. (Id.).

       Mortgage Electronic Registration Systems, Inc. (“MERS”) has moved to dismiss on the

ground that it has no current interest in the property or loan. (Docket Entry No. 13). KAFI

responds that the sale implicated MERS because it is referred to in the Deed of Trust as the

“nominee” for the lender, successors, and assigns. (Docket Entry No. 15 at 2–3).

       The lawsuit seeks to quiet title by removing the lien at issue from the title record as barred

by limitations and precluded by a broken chain of assignments. (Docket Entry No. 1-4 at 11–13).
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KAFI seeks a declaration that MERS and others lack standing to foreclose or transfer the property.

(Id. at 10–11). MERS’s claim against the property is based on the fact that it is named as a nominal

beneficiary of the Deed of Trust and a statutory “mortgagee.” (Docket Entry No. 15 at 2).

       As KAFI points out, the fact that MERS assigned the loan to Trinity Financial Services

and does not claim a present interest in the property does not affect MERS’s present dispute with

KAFI. (Id. at 3). MERS is “an electronic mortgage registration system and clearinghouse that

tracks beneficial ownerships in, and servicing rights to, mortgage loans.” Lee v. BAC Home Loans

Serving, LP, 2014 WL 2507661, at *1 n.1 (Tex. App.—Houston [1st District.] 2014, no pet.)

(citing In re Mortg. Elec. Registration Sys. (MERS) Litig., 659 F. Supp. 2d 1368, 1370 (J.P.M.L.

2009). MERS’s role as the “beneficiary” of the Deed of Trust “solely as nominee for Lender and

Lender’s successors and assigns,” gives it the “right to foreclose and sell the Property; and to take

any action required of Lender including, but not limited to, releasing, cancelling, or assigning this

security instrument.” (Docket Entry No. 15 at 3).

       Because MERS was named in the Deed of Trust as beneficiary, solely as nominee for the

lender and the lender’s successors and assigns, MERS is the nominal beneficiary of the Deed of

Trust on behalf of any valid successor and assign of the original lender. The Deed of Trust does

not state that a MERS assignment nullifies MERS’s status as nominal beneficiary. The borrower

and MERS agreed that MERS would always be the nominal beneficiary of the deed of trust, with

the right to foreclose, including on behalf of any valid successor or assign of the original lender.

Santarose v. Aurora Bank FSB, 2010 WL 2232819, at *5 n.44 (S.D. Tex. 2010). A subsequent

assignment from MERS to Trinity is irrelevant to the disputes involving MERS and KAFI.

       If MERS was no longer the nominal beneficiary of the Deed of Trust after the assignment,

MERS could still be a statutory mortgagee under the Texas Property Code, which could authorize



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another party to service the loan and foreclose, even if MERS was not the note owner. See Allen

v. Chase Home Finance, LLC, 2011 WL 2683192, at *3 (E.D. Tex. 2011).

       The alternatives disclosed by the record lead to the conclusion that MERS would be

affected by the requested relief of a temporary restraining order and temporary injunction so that

MERS is an interested and proper party in this quiet title or declaratory judgment proceeding.

MERS’s motion to dismiss is denied. (Docket Entry No. 13).



       SIGNED on February 13, 2024, at Houston, Texas.




                                                    ________________________________
                                                                 Lee H. Rosenthal
                                                            United States District Judge




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